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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

               Plaintiff,

               v.                                          Case Nos.     05-3235-JWL
                                                                         03-20081-02-JWL
JOSHALYN PAIR,

            Defendant/Movant.
______________________________________


                                 MEMORANDUM AND ORDER

       Defendant Joshalyn Pair pleaded guilty to one count of using a communication facility

to aid and abet the distribution of a controlled substance. She was sentenced to twenty-four

months imprisonment.        This matter comes before the court on the government’s motion for

enforcement of the plea agreement (doc. 135).     By way of this motion, the government asks

the court to summarily deny Ms. Pair’s motion under 28 U.S.C. § 2255 to vacate, set aside, or

correct her sentence because, the government argues, the court should enforce the aspect of

her plea agreement in which she waived the right to collaterally attack her sentence. For the

reasons explained below, the court will grant the government’s motion and summarily deny Ms.

Pair’s § 2255 motion.

       The court will hold a defendant and the government to the terms of a lawful plea

agreement. United States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United

States v. Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary

waiver in a plea agreement of the right to collaterally attack a sentence under § 2255 is
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generally enforceable.    United States v. Cockerham, 237 F.3d 1179, 1181-83 (10th Cir.

2001).        The Tenth Circuit has adopted a three-pronged analysis for evaluating the

enforceability of such a waiver in which the court must determine: (1) whether the disputed

issue falls within the scope of the waiver; (2) whether the defendant knowingly and voluntarily

waived his (or her) rights; and (3) whether enforcing the waiver would result in a miscarriage

of justice.    United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc) (per

curiam).1

         1.      Scope of the Waiver

         In determining whether the disputed issue falls within the scope of the waiver, the court

begins with the plain language of the plea agreement. United States v. Anderson, 374 F.3d

955, 957 (10th Cir. 2004). The plea agreement is construed “according to contract principles

and what the defendant reasonably understood when he entered his plea.”         Arevalo-Jimenez,

372 F.3d at 1206 (internal quotation and citations omitted).     The court strictly construes the

waiver and resolves any ambiguities against the government and in favor of the defendant.

Hahn, 359 F.3d at 1343.


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           Although Hahn involved the enforceability of a waiver in a plea agreement in the
context of a direct appeal, the court sees no reason why the same legal standard would not
apply in the context of a § 2255 motion. Cf. Cockerham, 237 F.3d at 1182 (“By analogy, the
right to bring a collateral attack under § 2255 is a statutory right and, like the right to direct
appeal, appears to be waivable unless it falls within these same exceptions.”). Indeed, an
unpublished decision from the Tenth Circuit suggests that this is the correct analysis of the
enforceability of a waiver of § 2255 collateral attack rights. See United States v. Lamson,
132 Fed. Appx. 213 (10th Cir. 2005) (unpublished table opinion) (applying Hahn’s three-part
analysis to a motion for a certificate of appealability of the district court’s denial of a § 2255
motion).

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          The provision in the plea agreement by which Ms. Pair waived her right to collaterally

attack any matter in connection with her prosecution and sentence states as follows:

                  9.      Waiver of Appeal and Collateral Attack.                Defendant
          knowingly and voluntarily waives any right to appeal or collaterally attack
          any matter in connection with this prosecution, conviction, and sentence. The
          defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right to
          appeal the conviction and sentence imposed. By entering into this agreement,
          the defendant knowingly waives any right to appeal a sentence imposed which
          is within the guideline range determined appropriate by the court.           The
          defendant also waives any right to challenge a sentence or manner in which
          it was determined in any collateral attack, including, but not limited to, a
          motion brought under Title 28, U.S.C. § 2255 [except as limited by United
          States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)]. In other words,
          the defendant waives the right to appeal the sentence imposed in this case except
          to the extent, if any, the court departs upwards from the applicable sentencing
          guideline range determined by the court.           However, if the United States
          exercises its right to appeal the sentence imposed as authorized by Title 18,
          U.S.C. § 3742(b), the defendant is released from this waiver and may appeal the
          sentence received as authorized by Title 18, U.S.C. § 3742(a).

(Emphasis added.)      The scope of this waiver unambiguously includes the right to collaterally

attack by way of a § 2255 motion any matter in connection with her prosecution, conviction,

and sentence.      This includes all of the arguments that Ms. Pair now raises in her § 2255

motion.

          2.     Knowing and Voluntary

          Second, the court must “ascertain whether the defendant knowingly and voluntarily

waived [her] . . . rights.” Hahn, 359 F.3d at 1325.           In making this determination, the court

evaluates the language of the plea agreement and the court’s Rule 11 colloquy with the

defendant. Id.




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        Here, the last paragraph of the plea agreement that is immediately prior to the

prosecutors’ and Ms. Pair’s and her attorney’s signatures states that Ms. Pair has had sufficient

time to discuss the matter with her attorney and is satisfied with her attorney’s representation,

that she has read and understands the plea agreement, that she agrees it is true and accurate and

not the result of any duress, and that she “acknowledges that [she] is entering into this

agreement and is pleading guilty because [she] is guilty and is doing so freely and voluntarily.”

Thus, the language of the plea agreement indicates that she waived her rights knowingly and

voluntarily.

        The transcript of the court’s Rule 11 colloquy with Ms. Pair also reflects that she gave

her plea of guilty freely and voluntarily. During that colloquy, Ms. Pair stated under oath that

she understood that she was foregoing her constitutional trial rights; that she could be

sentenced for up to four years imprisonment and fined up to $30,000; that she could be giving

up certain valuable civil rights because the charged offense was a felony; and that she was

waiving the right to appeal or collaterally attack her sentence after the court had specifically

explained to her what that meant. She stated that her attorney had consulted with her about the

sentencing guidelines and the procedure that would be followed for determining the sentencing

guideline recommendation, but that she understood that her attorney was not in a position to

make any promises or guarantees about what her sentence was going to be. She stated that she

understood the terms of her plea agreement and had discussed with her attorney her decision

to enter a plea of guilty.    She stated that she was entering her plea of guilty freely and




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voluntarily because, in fact, she was guilty of the charge against her.          At all times Ms. Pair

answered the court’s questions intelligently and did not appear to have been confused at all.

        In sum, then, the language of the plea agreement and the Rule 11 colloquy establish –

and the court has absolutely no difficulty concluding – that Ms. Pair’s waiver of her rights was

given knowingly and voluntarily.

        3.      Miscarriage of Justice

        Finally, the court must “determine whether enforcing the waiver will result in a

miscarriage of justice.” Hahn, 359 F.3d at 1327. This test is met only if: (1) the district court

relied on an impermissible factor such as race; (2) the defendant received ineffective

assistance of counsel in conjunction with the negotiation of the waiver; (3) the sentence

exceeds the statutory maximum; or (4) the waiver is otherwise unlawful in the sense that it

suffers from error that seriously affects the fairness, integrity, or public reputation of judicial

proceedings. Id.     The defendant bears the burden of demonstrating that the waiver results in

a miscarriage of justice.    Anderson, 374 F.3d at 959. In this case, enforcement of the waiver

clearly does not run afoul of the first, third, or fourth factors listed above.         Ms. Pair’s only

plausible argument in this respect is that she received ineffective assistance of counsel in

conjunction with the negotiation of the plea or waiver.

        A plea agreement waiver of post-conviction rights “does not waive the right to bring a

§ 2255 petition based on ineffective assistance of counsel claims challenging the validity of

the plea or waiver.”      Cockerham, 237 F.3d at 1187.           Here, however, plaintiff’s ineffective

assistance of counsel claim relates to counsel’s allegedly deficient performance at sentencing.

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In her § 2255 motion and her response to the government’s current motion, she complains that

she was prejudiced during the “penalty phase” by counsel’s failure to present evidence of

complete and accurate information concerning her minimal involvement in the offense.         She

also complains that counsel was ineffective because the plea agreement entrapped her into a

“harsher sanction at sentencing” than her involvement in the criminal conduct in which she

participated.   Although she complains that she was frightened because she was facing a long

prison sentence and duress clouded her decision-making, that consideration does not implicate

the effectiveness of her attorney’s representation. 2     Ms. Pair also complains that she had

difficulty communicating with her attorney.     The only explanation that she offers in this

respect is that the communication difficulties arose from the fact that she was located in

Denver, Colorado, and counsel was located in Kansas City, Kansas. This is not a case where

a language barrier existed; both Ms. Pair and her attorney speak English as their primary

language.   Ms. Pair certainly does not suggest that she was entirely unable to communicate

with her attorney. The court was satisfied in accepting Ms. Pair’s guilty plea that she entered

her plea knowingly and voluntarily after consultation with her attorney, and plaintiff’s argument

that she had difficulty communicating with her attorney simply because she was located in

Denver and he in Kansas City is insufficient to undermine this finding.          Additionally, as

explained previously, even to the extent that she may have had some difficulty communicating

with her attorney, she is claiming that she was prejudiced by his ineffectiveness at sentencing.


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           Given the court’s finding that Ms. Pair entered her guilty plea knowingly and
voluntarily, the court is unpersuaded by this argument in any event.

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Consequently, because Ms. Pair’s ineffective assistance of counsel claim challenges counsel’s

allegedly deficient performance at sentencing rather than in conjunction with the validity of

the plea itself, Ms. Pair waived those arguments by virtue of the waiver in the plea agreement.3

Accordingly, the court finds that no miscarriage of justice will result by enforcing the plea

agreement precisely as it is written.




        IT IS THEREFORE ORDERED BY THE COURT that the government’s motion for

enforcement of the plea agreement (doc. 135) is granted.




        IT IS FURTHER ORDERED BY THE COURT that Ms. Pair’s motion under 28

U.S.C. § 2255 to vacate, set aside, or correct her sentence (doc. 129) is summarily denied.




        IT IS SO ORDERED this 12th day of August, 2005.




                                                       s/ John W. Lungstrum
                                                       John W. Lungstrum
                                                       United States District Judge




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          The court additionally wishes to comment that it is unimpressed with Ms. Pair’s
suggestion that she suffered prejudice at sentencing due to her counsel’s conduct. The court
informed Ms. Pair during the Rule 11 colloquy that she was facing a maximum sentence under
the statute of four years imprisonment.        The sentencing guidelines range was ultimately
determined to be thirty-seven to forty-six months. Yet her attorney successfully persuaded
the court to reduce her sentence so that she was ultimately sentenced to only twenty-four
months imprisonment, which was a commendable result from Ms. Pair’s perspective.

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